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                                                 RYDER RIPPS and JEREMY CAHEN
15
16                               UNITED STATES DISTRICT COURT
17                              CENTRAL DISTRICT OF CALIFORNIA
18                               WESTERN DIVISION – Los Angeles
19
20 YUGA LABS, INC.,                             Case No.: 2:22-cv-04355-JFW-JEM
21                       Plaintiff,             FINAL JOINT EXHIBIT LIST
22           v.                                 Trial Date: July 31, 2023
23 RYDER RIPPS, JEREMY CAHEN,
24                       Defendants.
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28

     FINAL JOINT EXHIBIT LIST                                    Case No. 2:22-cv-04355-JFW-JEM
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     FINAL JOINT EXHIBIT LIST                              Case No. 2:22-cv-04355-JFW-JEM
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  1            Pursuant to Section 1(b) of the Civil Trial Order (Dkt. 284), the Pre-Trial
  2 Conference held on June 9, 2023, and the Final Pre-Trial Conference held on July
  3 26, 2023, Plaintiff Yuga Labs, Inc. (“Plaintiff” or “Yuga Labs”) and Defendants
  4 Ryder Ripps and Jeremy Cahen (collectively, “Defendants”), respectfully submit this
  5 Final Joint Trial Exhibit List.1
  6            Case Title: Yuga Labs, Inc. v. Ryder Ripps and Jeremy Cahen
  7            Case No: 2:22-cv-04355-JFW-JEM
  8                                                                Date              Date
          Ex. No.                  Description
                                                                 Identified        Admitted
  9                  2022 02 03 Thomas Lehman Declaration
          JTX-1
10                   (Lehman Depo Exhibit 1)
                     2022 06 21 Twitter Direct Messages
11        JTX-12
                     (Hickman) (Hickman Depo Exhibit 12)
12                   2022 05 16 Hickman Tweet (Hickman Depo
          JTX-13
                     Exhibit 13)
13
                     2022 06 15 6:08 PM Excerpts from Team
14        JTX-23     ApeMarket Discord (Hickman Depo Exhibit
                     23)
15
                     Etherscan -
16        JTX-25     0x2ee6af0dff3a1ce3f7e3414c52c48fd50d73
17                   691e (Hickman Depo Exhibit 25)
                     ApeMarket Twitter Page (Hickman Depo
18        JTX-26
                     Exhibit 26)
19                   RRBAYC Foundation webpage (Hickman
          JTX-28
                     Depo Exhibit 28)
20                   2022 06 13 (Wayback) RRBAYC Opensea
          JTX-29
21                   webpage (Hickman Depo Exhibit 29)
                     Etherscan -
22        JTX-36     0x2ee6af0dff3a1ce3f7e3414c52c48fd50d73
23                   691e (Hickman Depo Exhibit 36)
                     Excerpts from Team ApeMarket Discord -
24        JTX-42     22-May-22 08:59 AM (Hickman Depo
25                   Exhibit 42)
26
27    1
    Exhibits with double asterisk (**) indicate exhibits that were not listed on the
   Parties’ July 24, 2023 Final Pre-Trial Exhibit Stipulation (Dkt. 364) or listed as
28 “withdrawn” and shall only come in for impeachment purposes.

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  1                                                              Date             Date
        Ex. No.                    Description
  2                                                            Identified       Admitted
                     2022 05 26 5:44 RRBAYC Telegram 2
  3     JTX-44
                     Messages (Hickman Depo Exhibit 44)
  4                  2022 05 30 12:58 PM Excerpts from Team
        JTX-49       ApeMarket Discord (Hickman Depo
  5                  Exhibit 49)
  6                  2022 05 26 10:06 AM Excerpts from Team
        JTX-55       ApeMarket Discord (Hickman Depo Exhibit
  7                  55)
  8                  2022 06 24 4:01 PM Excerpts from Team
        JTX-58       ApeMarket Discord (Hickman Depo
  9                  Exhibit 58)
10                   Etherscan -
                     0xF9C2Ba78aE44ba98888B0e9EB27EB63
11      JTX-72
                     d576F261B (Hickman) (Hickman Depo
12                   Exhibit 72)
                     ApeMarket Flow Chart (Cahen Depo
13      JTX-87
                     Exhibit 87)
14                   2022 06 02 ApeMarket Tweet - ApeMarket
        JTX-88
                     Flow Chart (Cahen Depo Exhibit 88)
15
                     2022 06 23 12:50 PM Excerpts from Team
16      JTX-90       ApeMarket Discord (Cahen Depo Exhibit
                     90)
17
                     2022 06 21 Hickman Tweet (Cahen Depo
        JTX-91
18                   Exhibit 91)
                     RR/BAYC Browser Tab and Favicon
19      JTX-94
                     (Cahen Depo Exhibit 94)
20                   Ape Market Browser Tab and Favicon
        JTX-95
21                   (Cahen Depo Exhibit 95)
                     RR/BAYC Revenue, Gas, and Profit Share
22      JTX-96
                     (Cahen Depo Exhibit 96)
23                   2022 05 30 11:42 RRBAYC Telegram 2
        JTX-98       messages between Ryder Ripps and Pauly
24                   Shore (Cahen Depo Exhibit 98)
25        JTX-       RR/BAYC Recent Financials (Cahen Depo
           103       Exhibit 103)
26                   2022 06 07 6:00 PM Excerpts from Team
          JTX-
27                   ApeMarket Discord (Cahen Depo Exhibit
           107
                     107)
28

      FINAL JOINT EXHIBIT LIST                   4             Case No. 2:22-cv-04355-JFW-JEM
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  1                                                                Date             Date
        Ex. No.                     Description
  2                                                              Identified       Admitted
          JTX-       2022 06 24 Text Messages (Lehman and
  3        108       Cahen) (Cahen Depo Exhibit 108)
  4                  2022 05 31 9:25 AM Excerpts from Team
          JTX-
                     ApeMarket Discord (Cahen Depo Exhibit
  5        109
                     109)
  6                  2022 06 03 5:58 PM Excerpts from Team
          JTX-
                     ApeMarket Discord (Cahen Depo Exhibit
  7        110
                     110)
  8                  2022 06 09 1:52 PM Excerpts from Team
          JTX-
                     ApeMarket Discord (Ripps Depo Exhibit
  9        114
                     114)
10                   2022 07 15 (Wayback) Etherscan -
          JTX-
                     0x2ee6af0dff3a1ce3f7e3414c52c48fd50d73
11         117
                     691e (Ripps Depo Exhibit 117)
12                   Etherscan -
          JTX-
                     0x2ee6af0dff3a1ce3f7e3414c52c48fd50d73
13         118
                     691e (Ripps Depo Exhibit 118)
14        JTX-       2021 12 06 Ripps Tweet (Ripps Depo
           119       Exhibit 119)
15
          JTX-       RR/BAYC #8774 on Foundation webpage
16         120       (Ripps Depo Exhibit 120)
          JTX-       2021 12 06 Ripps Tweet (Ripps Depo
17
           123       Exhibit 123)
18        JTX-       2022 05 17 Twitter Direct Messages (Ripps
           125       and Claire0x) (Ripps Depo Exhibit 125)
19
          JTX-       2022.05.20 Text Messages (Ripps and Ian
20         126       Garner) (Ripps Depo Exhibit 126)
21        JTX-       2022 05 16 Ripps Tweet (Ripps Depo
           128       Exhibit 128)
22        JTX-       2022 05 16 Ripps Tweet (Ripps Depo
23         131       Exhibit 131)
          JTX-       2022 05 16 (WayBack) Ripps Tweet (Ripps
24         132       Depo Exhibit 132)
25        JTX-       2022 05 21 Twitter Direct Messages (Ripps
           133       and DoTheMath) (Ripps Depo Exhibit 133)
26                   Redacted (RRBAYC) LooksRare webpage
          JTX-
27                   (captured on 2023 01 05) (Ripps Depo
           136
                     Exhibit 136)
28

      FINAL JOINT EXHIBIT LIST                    5              Case No. 2:22-cv-04355-JFW-JEM
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  1                                                               Date             Date
        Ex. No.                    Description
  2                                                             Identified       Admitted
          JTX-       2022 06 22 (Wayback) RRBAYC Looksrare
  3        137       webpage (Ripps Depo Exhibit 137)
  4       JTX-       RRBAYC nftx.io webpage (Ripps Depo
           138       Exhibit 138)
  5       JTX-       2022 05 24 to 25 Text Messages (Garner
  6        141       and Ripps) (Garner Depo Exhibit 141)
          JTX-       2022-05-31 Twitter Direct Messages
  7        147       (Garner Depo Exhibit 147)
  8                  Etherscan -
          JTX-       0xee969b688442c2d5843ad75f9117b3ab04
  9        157       b14960 RRBAYCRSVP) (Transactions)
10                   (Garner Depo Exhibit 157)
          JTX-       2022 05 18 Text Messages (Garner and
11         158       Ripps) (Garner Depo Exhibit 158)
12        JTX-       2022 05 23 Text Messages (Garner and
           159       Ripps) (Garner Depo Exhibit 159)
13
          JTX-       No Date Text Messages (Garner and Ripps)
14         160       (Garner Depo Exhibit 160)
          JTX-       2022 05 22 Text Messages (Garner and
15
           161       Ripps) (Garner Depo Exhibit 161)
16        JTX-       2022 06 04 Text messages (Garner and
           162       Ripps) (Garner Depo Exhibit 162
17
          JTX-       RRBAYC Netlify (captured on 2023 02 21)
18         166       (Garner Depo Exhibit 166)
19        JTX-       RRBAYC Netlify Ape #1376 (captured on
           167       2023 02 21) (Garner Depo Exhibit 167)
20        JTX-       No Date Text Messages (Garner and Ripps)
21         169       (Garner Depo Exhibit 169)
          JTX-       RRBAYC Netlify (Garner Depo Exhibit
22         171       171)
23        JTX-       2022 05 23 Text messages (Garner and
           176       Ripps) (Garner Depo Exhibit 176)
24        JTX-       2022 05 24 Text messages (Garner and
25         177       Ripps) (Garner Depo Exhibit 177)
                     Solano Deposition Exhibit 209- Copy of
26        JTX-
                     Bored Ape Yacht Club Terms and
           209
27                   Conditions
28

      FINAL JOINT EXHIBIT LIST                   6              Case No. 2:22-cv-04355-JFW-JEM
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  1                                                                  Date             Date
        Ex. No.                     Description
  2                                                                Identified       Admitted
          JTX-       Solano Deposition Exhibit 210- Photo of
  3       210*       ape with bullets starpped to chest
  4       JTX-       Solano Deposition Exhibit 213- Photo of a
           213       pink ape with a gold grill and chain
  5                  Muniz Deposition Exhibits 224- Bored Ape
  6       JTX-       Yacht Club webpage with Ape #150 ,
           224       RIPPSCAHEN00000310-
  7                  RIPPSCAHEN00000311
  8                  Muniz Deposition Exhibits 225- Bored Ape
          JTX-       Yacht Club webpage with Ape #3721,
  9        225       RIPPSCAHEN00000312-
10                   RIPPSCAHEN00000313
                     Muniz Deposition Exhibits 231- @tsf, How
11        JTX-       Four Friends Sold $2.8M Worth of Bored
12        231*       Apes In Less Than 24 Hours on the
                     Blockchain, May 6, 2021
13        JTX-       Muniz Deposition Exhibits 235- Bored Ape
14         235       Solana Club homepage on OpenSea
                     Atalay Deposition Exhibit 252 - Screenshot
15        JTX-
                     of webpage page titled "Welcome to the
          252*
16                   Bored Ape Yacht Club"
                     Atalay Deposition Exhibit 253 - Tweet from
17        JTX-
                     @BoredApeYC saying "The Bored Ape
          253*
18                   Yacht Club #NFT Pre-Sale is now LIVE!"
          JTX-
19                   Withdrawn.
          255*
20                   Aronow Deposition Exhibit 282 -
          JTX-
21                   Screenshot of webpage on OpenSea titled
          282*
                     "Bored Ape Solana Club"
22        JTX-       Aronow Deposition Exhibit 287 -
23         287       Screenshot of apeswap.finance homepage
                     Berger Deposition Exhibit 09 - Chen and
24        JTX-
                     Berger, When, Why, and How Controversy
          305*
25                   Causes Conversation, Oct. 2013
                     Berger Deposition Exhibit 22 - Bellany et
26        JTX-       al., Cryptocurrencies Melt Down in a
27        306*       'Perfect Storm' of Fear and Panic, May, 12,
                     2022
28

      FINAL JOINT EXHIBIT LIST                     7               Case No. 2:22-cv-04355-JFW-JEM
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  1                                                                   Date             Date
        Ex. No.                      Description
  2                                                                 Identified       Admitted
                     Berger/Cahen Deposition Exhibit 28 -
  3       JTX-       Goncharenko, Bored Apes desecrated a
  4        307       famous piece of New York graffiti art, July
                     18, 2022
  5       JTX-       Kindler Deposition Exhibit 01- Expert
  6       308*       Report of Lauren R. Kindler, Feb. 6, 2023
          JTX-       O'Laughlin Deposition Exhibit 01- Expert
  7       310*       Report of Laura O'Laughlin, Feb. 6, 2023
  8                  O'Laughlin Deposition Exhibit 02- Tweet
                     from @streetoshi saying "I bought an rr
  9       JTX-       bayc because I thought it was made by
10         311       yuga", June 21, 2022,
                     YUGALABS_00015411-
11                   YUGALABS_00015411
12                   O'Laughlin Deposition Exhibit 03- Tweet
                     from @streetoshi replying to @yugalabs
13        JTX-
                     and @ryder_ripps,
           312
14                   RIPPSCAHEN00015349-
                     RIPPSCAHEN00015349
15                   O'Laughlin Deposition Exhibit 04- Chen,
16        JTX-       Ryder Ripps: An Artist of the Internet, July
          313*       8, 2014, RIPPSCAHEN00000870-
17                   RIPPSCAHEN00000870
18                   O'Laughlin Deposition Exhibit 05-
          JTX-
                     O'Laughlin et al., Which Method is for you?
19        314*
                     Not All Surveys Are Made the Same
20                   O'Laughlin Deposition Exhibit 09-
          JTX-
                     Homepage of Grandpa Ape Country Club
21        318*
                     on OpenSea with updated items
22                   O'Laughlin Deposition Exhibit 10-
          JTX-
23                   Webpage of Bored Ape Yacht Club on
          319*
                     OpenSea with Ape listed for 0.05 ETH
24                   O'Laughlin Deposition Exhibit 11-Webpage
          JTX-
25                   of #The Best Boredd Apee Yacht Clubb on
          320*
                     OpenSea with updated items
26
27
28

      FINAL JOINT EXHIBIT LIST                     8                Case No. 2:22-cv-04355-JFW-JEM
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  1                                                                Date             Date
        Ex. No.                    Description
  2                                                              Identified       Admitted
                     Ehrlund Deposition Exhibit 409- Homepage
  3       JTX-       of apeswap.finance with "Total Value
  4        409       Locked $72,368,012 and Market Cap
                     $12,557,182"
  5                  Ehrlund Deposition Exhibit 410- "Welcome
          JTX-
  6                  all Apes" webpage discussing "$Banana
           410
                     meme sharing fiesta"
  7       JTX-       Cline Twitter Header (Jclineshow) (Cline
  8       505*       Depo Exhibit 505)
          JTX-       2022 05 16 Twitter Direct Messages (Cline
  9       522*       and the dude_86) (Cline Depo Exhibit 522)
10        JTX-       2022 05 16 Cline Tweet (Cline Depo
          523*       Exhibit 523)
11        JTX-       2022 05 13 Cline Tweet (Cline Depo
12        524*       Exhibit 524)
          JTX-       2022 05 13 Cline Tweet (Cline Depo
13        525*       Exhibit 525)
14                   Etherscan - Transaction Details
          JTX-       0xec6a7bd2b146bd89b214d1b5f4650afc20
15
           600       462dddefe04a7d65fb2f953404f015
16                   (YUGALABS_00031370)
                     Foundation Webpage - How to Create a
17        JTX-
                     Collection (YUGALABS_00036186 -
           603
18                   YUGALABS_00036199)
          JTX-       RRBAYC Netlify Ape #4092 (captured on
19
           604       2023 02 21) (YUGALABS_00036595)
20        JTX-       2022 10 19 BAYC Tweet
21         605       (YUGALABS_00032572)
          JTX-       2021 12 02 adidasoriginals Tweet
22         606       (YUGALABS_00002244)
23                   Yuga Labs Website - About Page
          JTX-
                     (YUGALABS_00030223 -
24         607
                     YUGALABS_00030230)
25                   Bored Ape Yacht Club Homepage
          JTX-
                     (YUGALABS_00015993 -
26         608
                     YUGALABS_00015995)
27        JTX-       Yuga Labs OpenSea Bored Ape Yacht Club
           611       Listing Page (YUGALABS_00027531)
28

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  1                                                               Date             Date
        Ex. No.                    Description
  2                                                             Identified       Admitted
                     2023 02 06 [12] Consent Judgment and
  3       JTX-
                     Order in Yuga Labs v. Lehman (Yuga Labs'
           621
  4                  Motion for Summary Judgment Exhibit 26)
                     Emails re the Registration of the Domain
  5       JTX-
                     apemarket.com (Yuga Labs' Motion for
           627
  6                  Summary Judgment Exhibit 29)
                     2022 06 24 Text Messages (Lehman and
  7       JTX-
                     Cahen) (LEHMAN0000047 -
           630
  8                  LEHMAN0000049)
          JTX-       2022 05 25 Text Messages (Lehman and
  9        631       third party) (LEHMAN0000077)
 10       JTX-       2022 05 14 Ripps Tweet
           669       (YUGALABS_00030121)
 11                  2022 05 21 (Wayback) - RRBAYC
          JTX-
 12                  Foundation webpage
           670
                     (YUGALABS_00030104)
 13       JTX-       2022 05 17 Ripps Tweet
 14        671       (YUGALABS_00031325)
          JTX-       2022 05 15 Ripps Tweet
 15
           672       (YUGALABS_00002602)
 16       JTX-       RRBAYC Foundation Webpage
           673       (YUGALABS_00015424)
 17
          JTX-       RRBAYC Foundation mobile page
 18        675       (YUGALABS_00030346)
 19       JTX-       Google Search - BAYC Foundation.app
           677       (YUGALABS_00015439)
 20       JTX-       2022 06 20 Cahen Tweet
 21        682       (YUGALABS_00040374)
                     2022 06 20 Cahen Tweet
 22       JTX-
                     (YUGALABS_00036242 -
           683
 23                  YUGALABS_00036244)
          JTX-       OpenSea 24 Hour Sales Rankings
 24        684       (YUGALABS_00015425)
 25       JTX-       2022 06 21 Cahen Tweet
           685       (YUGALABS_00040429)
 26                  Side-by-Side of BAYC #1058 and
          JTX-
 27                  RR/BAYC #1058 on OpenSea
           686
                     (YUGALABS_00015999)
 28

      FINAL JOINT EXHIBIT LIST                   10             Case No. 2:22-cv-04355-JFW-JEM
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  1                                                                Date             Date
        Ex. No.                     Description
  2                                                              Identified       Admitted
          JTX-       RRBAYC No. 362
  3        687       (YUGALABS_00000617)
  4       JTX-       RRBAYC No. 863
           688       (YUGALABS_00000619)
  5       JTX-       2022 05 13 Ripps Tweet
  6        689       (YUGALABS_00000541)
          JTX-       2022 05 17 Ripps Tweet
  7        690       (YUGALABS_00000565)
  8                  ApeMarket Twitter Account
          JTX-
                     (YUGALABS_00014079 -
  9        696
                     YUGALABS_00014082)
 10       JTX-       2022 06 02 ApeMarket Tweet
           697       (YUGALABS_00000536)
 11       JTX-       Apemarket.com Webpage
 12        698       (YUGALABS_00000542)
          JTX-       2022 06 21 Bloomberg Crypto News
 13
           701       Segment (YUGALABS_00040375)
 14                  2022 07 08 0xGem Tweet
          JTX-
                     (YUGALABS_00002625 -
 15        705
                     YUGALABS_00002634)
 16       JTX-       2022 07 08 apeuniverse_eth Tweet
           706       (YUGALABS_00040377)
 17
          JTX-       2022 10 21 Tom22110616 Tweet
 18        709       (YUGALABS_00002033)
 19       JTX-       2022 05 19 Cryptoverse520 Tweet
           710       (YUGALABS_00027520)
 20       JTX-       2022 06 22 johnny0x_ Tweet
 21        713       (YUGALABS_00027491)
          JTX-       2022 05 27 Ripps Tweet
 22        715       (YUGALABS_00027523)
 23       JTX-       2022 05 18 Ripps Tweet
           719       (YUGALABS_00040410)
 24                  Expert Report of Laura O'Laughlin (Yuga
          JTX-
 25                  Labs' Motion for Summary Judgment
          721*
                     Exhibit 105)
 26                  Expert Report of Jonah Berger (Yuga Labs'
          JTX-
 27                  Motion for Summary Judgment Exhibit
          722*
                     106)
 28

      FINAL JOINT EXHIBIT LIST                    11             Case No. 2:22-cv-04355-JFW-JEM
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  1                                                              Date             Date
        Ex. No.                     Description
  2                                                            Identified       Admitted
                     Expert Report of Lauren Kindler (Yuga
  3       JTX-
                     Labs' Motion for Summary Judgment
          723*
  4                  Exhibit 107)
          JTX-
  5                  Team ApeMarket Discord (PDF)
           801
  6       JTX-       RRBAYC Telegram (HTML)
           802       (LEHMAN0000314)
  7       JTX-       2022 05 20 RRBAYC Telegram
  8        803       Messages.html (PDF)
          JTX-       2022 05 26 RRBAYC Telegram
  9        804       Messages2.html (PDF)
 10       JTX-
                     10,000 Ape Images
           805
 11       JTX-       Lehman's Source Code Files (ZIP)
 12        806       (LEHMAN0000308)
          JTX-       Lehman ApeMarket Source Code (Home)
 13
           807       (YUGALABS_00043404)
 14                  Lehman ApeMarket Source Code
          JTX-
                     (Dropdown menu)
 15        808
                     (YUGALABS_00043484)
 16       JTX-       Lehman ApeMarket Source Code (Bored
           809       Ape Yacht Club) (YUGALABS_00043490)
 17
          JTX-       RRBAYC X2Y2 webpage
 18        812       (YUGALABS_00002334)
 19       JTX-       2022 05 15 Ripps Tweet
           814       (YUGALABS_00000538)
 20       JTX-       2022 05 18 Messages (Ripps and
 21        817       baggybydesign) (RIPPSCAHEN00002252)
          JTX-       Etherscan - Ape #8774
 22        818       (YUGALABS_00030078)
 23                  2022 05 22 Twitter Direct Messages
          JTX-
                     (Pregueiro and Ripps)
 24        831
                     (RIPPSCAHEN00000304)
 25                  Etherscan - Ripps Transfer of 5 RR/BAYC
          JTX-       NFTs to Pregueiro
 26        832       (YUGALABS_00029814 -
 27                  YUGALABS_00029819)
 28

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  1                                                             Date             Date
        Ex. No.                   Description
  2                                                           Identified       Admitted
          JTX-       2022 05 18 Ripps Tweet
  3        841       (YUGALABS_00029089)
  4       JTX-       2022 06 17 Ripps Tweet
           857       (YUGALABS_00030109)
  5       JTX-       2022 06 16 Ripps Tweet
  6        859       (YUGALABS_00030120)
          JTX-       2022 06 16 Ripps Tweet
  7        860       (YUGALABS_00030128)
  8       JTX-       2023 01 03 Cahen Tweet
           869       (YUGALABS_00030069)
  9       JTX-       2022 06 22 Ripps Tweet
 10        871       (YUGALABS_00027522)
          JTX-       2021 12 10 Ripps Tweet
 11        874       (YUGALABS_00030233)
 12                  Etherscan - Address
                     0x592814ff14e030b51f6087032db0f88f421
 13       JTX-
                     4f254 (ryder - ripps.eth)
           906
 14                  (YUGALABS_00030152 -
                     YUGALABS_00030153)
 15
          JTX-       RR/BAYC Financials
 16        915       (RIPPSCAHEN00013270)
                     Etherscan -
 17
          JTX-       0x7D2550161E8A31D0b9585Bb9c88E63E
 18        916       9644af740 (Transactions from Ripps to
                     Cahen) (YUGALABS_00030132)
 19
                     Etherscan - Comparison
 20                  0x2ee6af0dff3a1ce3f7e3414c52c48fd50d73
          JTX-
 21                  691e and
           917
                     0xBC4CA0EdA7647A8aB7C2061c2E118A
 22                  18a936f13D (YUGALABS_00015423)
 23                  2022 05 18 to 2022 09 22 Text Messages
          JTX-
                     (Lehman and Cahen) (LEHMAN0000013 -
 24        918
                     LEHMAN0000066)
 25       JTX-       2022 07 14 Cahen Tweet
           919       (YUGALABS_00000610)
 26       JTX-       2021 07 20 Cahen Tweet
 27        922       (YUGALABS_00029821)
 28

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  1                                                               Date             Date
        Ex. No.                    Description
  2                                                             Identified       Admitted
          JTX-       2022 11 29 Cahen Tweet
  3        938       (YUGALABS_00029900)
  4       JTX-       2022 05 23 Text Messages (Garner and
           957       Ripps) (RIPPSCAHEN00001294)
  5       JTX-       2022 05 23 Text Messages (Garner and
  6        958       Ripps) (RIPPSCAHEN00001295)
          JTX-       No Date Text Messages (Garner and Ripps)
  7        960       (RIPPSCAHEN00001299)
  8       JTX-       No Date Text Messages (Garner and Ripps)
           961       (RIPPSCAHEN00001300)
  9       JTX-       2022 05 25 Text Messages (Garner and
 10        963       Ripps) (RIPPSCAHEN00001304)
          JTX-       Google Sheet re Reserved Ape IDs
 11        970       (LEHMAN0000241)
 12       JTX-       Etherscan - Token Bored Ape Yacht Club
           972       (YUGALABS_00043510)
 13
                     Etherscan - Transaction
 14       JTX-       0xb987ad523a314785ff965870ea82d46411f
           973       c58f28a9a8863235f4e0c0dde7314 (from
 15
                     Hickman) (YUGALABS_00043514)
 16                  Etherscan - Transaction
          JTX-       0x6f1a39025e91b4ff4774aadb21f8d6acae9f
 17
           974       59507f181eb62b0628861c4c5f30 (to
 18                  Hickman) (YUGALABS_00043519)
 19                  2022 06 20 Twitter Direct Messages
          JTX-
                     (Lehman and Hickman)
 20       1023
                     (LEHMAN0000208)
 21                  2022 06 20 Twitter Direct Messages
          JTX-
                     (Lehman and Hickman)
 22       1024
                     (LEHMAN0000209)
 23       JTX-       2022 06 20 ApeMarket Tweet
          1027       (YUGALABS_00000545)
 24       JTX-       2022 01 03 dlbrows Tweet
 25       1028       (YUGALABS_00000569)
                     2022 07 08 0xQuit Tweet
 26       JTX-
                     (YUGALABS_00002683 -
          1029
 27                  YUGALABS_00002686
 28

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  1                                                            Date             Date
        Ex. No.                   Description
  2                                                          Identified       Admitted
          JTX-       2022 07 08 0xToven Tweet
  3       1030       (YUGALABS_00000570)
  4       JTX-       2022 07 08 apeuniverse_eth Tweet
          1031       (YUGALABS_00000580)
  5       JTX-       2022 07 08 Cryptonidis Tweet
  6       1032       (YUGALABS_00000589)
          JTX-       2022 07 08 joergloo Tweet
  7       1034       (YUGALABS_00000624)
  8       JTX-       2022 07 08 NFTBuffet Tweet
          1035       (YUGALABS_00000629)
  9       JTX-       2022 05 26 Ripps Tweet
 10       1037       (YUGALABS_00002041)
          JTX-       2021 08 20 Arizona Iced Tea Tweet
 11       1038       (YUGALABS_00002247)
 12       JTX-       LooksRare - RRBAYC #5277
          1039       (YUGALABS_00015413)
 13
          JTX-       Opensea - BAYC #5277
 14       1040       (YUGALABS_00015414)
                     Etherscan - Transaction
 15
          JTX-       0xd6787edd130dffc37006884013d118bfe3d
 16       1041       7e8bf319468e3eab793c6760f8bce
                     (YUGALABS_00015417)
 17
                     Etherscan - Transaction
 18       JTX-       0X79b3bc7e029ae9fe423Cbf29C75bf6787e
 19       1042       64fa7e0b8bb61e62166510c7e4dd6
                     (YUGALABS_00015996)
 20       JTX-       2022 05 16 Joey_tartz Tweet
 21       1043       (YUGALABS_00027693)
          JTX-       2022 06 23 Ripps Tweet
 22       1045       (YUGALABS_00030050)
 23       JTX-       2023 01 18 ApeMarket Tweet
          1048       (YUGALABS_00030238)
 24                  2022 06 21 Bloomberg Crypto News
          JTX-
 25                  Segment (Full Clip)
          1049
                     (YUGALABS_00030243)
 26       JTX-       2022 05 16 Ripps Tweet
 27       1054       (YUGALABS_00031324)
 28

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  1                                                            Date             Date
        Ex. No.                   Description
  2                                                          Identified       Admitted
          JTX-       2022 06 15 0xGem Tweet
  3       1055       (YUGALABS_00031326)
  4       JTX-       2022 06 18 0xGem Tweet
          1056       (YUGALABS_00031327)
  5       JTX-       2022 06 20 0xGem Tweet
  6       1057       (YUGALABS_00031328)
          JTX-       2022 06 23 0xGem Tweet
  7       1058       (YUGALABS_00031329)
  8       JTX-       2022 06 25 0xGem Tweet
          1059       (YUGALABS_00031330)
  9       JTX-       2022 08 13 0xGem Tweet
 10       1060       (YUGALABS_00031333)
          JTX-       2022 12 28 0xGem Tweet
 11       1061       (YUGALABS_00031335)
 12       JTX-       DappRadar - Bored Ape Yacht Club V3
          1064       #537 (YUGALABS_00031367)
 13
          JTX-       LIVE9000 LLC Business Information
 14       1065       (YUGALABS_00031397)
          JTX-       DappRadar - Bored Ape Yacht Club V3
 15
          1066       #8664 (YUGALABS_00031432)
 16       JTX-       2022 06 15 0xGem Tweet
 17       1068       (YUGALABS_00031596)
          JTX-       2022 06 18 0xGem Tweet
 18       1069       (YUGALABS_00031597)
 19                  2022 06 23 0xGem Tweet
          JTX-
                     (YUGALABS_00031601 -
 20       1070
                     YUGALABS_00031602)
 21                  2022 06 25 0xGem Tweet
          JTX-
                     (YUGALABS_00031603 -
 22       1071
                     YUGALABS_00031604)
 23                  2022 08 13 0xGem Tweet
          JTX-
                     (YUGALABS_00031605 -
 24       1072
                     YUGALABS_00031609)
 25                  2022 12 28 0xGem Tweet
          JTX-
                     (YUGALABS_00031610 -
 26       1073
                     YUGALABS_00031611)
 27       JTX-       Yuga Labs Income Statement (January -
          1075       December 2022) (YUGALABS_00031620)
 28

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  1                                                                 Date             Date
        Ex. No.                     Description
  2                                                               Identified       Admitted
          JTX-       2022 05 16 Ripps Tweet
  3       1076       (YUGALABS_00031633)
  4                  Das, Dipanjan et al., “Understanding
                     Security Issues in the NFT Ecosystem,” In
  5      JTX-        Proceedings of ACM Conference on
  6      1119*       Computer and Communications Security
                     (2022) (YUGALABS_00033267 -
  7                  YUGALABS_00033284)
  8                  Beebe, Barton, Roy Germano, Christopher
                     Jon Sprigman, and Joel Steckel, “The Role
  9                  of Consumer Uncertainty in Trademark
 10      JTX-        Law: An Experimental and Theoretical
         1121*       Investigation,” New York University School
 11                  of Law, May 2021
 12                  (YUGALABS_00033998 -
                     YUGALABS_00034050)
 13                  Diamond, Shari Seidman, Jerre B. Swann,
 14                  Trademark and Deceptive Advertising
         JTX-        Surveys: Law, Science, and Design,
 15      1122*       American Bar Association, 2012
 16                  (YUGALABS_00034051 -
                     YUGALABS_00034055)
 17                  Diamond, Shari Seidman, Jerre B. Swann,
 18                  Trademark and Deceptive Advertising
         JTX-        Surveys: Law, Science, and Design,
 19      1123*       American Bar Association, 2022
 20                  (YUGALABS_00034056 -
                     YUGALABS_00034059)
 21
                     Jacoby, Jacob, Trademark Surveys Volume
 22                  1: Designing, Implementing, and Evaluating
         JTX-
                     Surveys, American Bar Association, 2013
 23      1125*
                     (YUGALABS_00035914 -
 24                  YUGALABS_00035922)
                     2022 05 16 (Wayback) Ripps Twitter
 25       JTX-
                     (YUGALABS_00000547 -
          1139
 26                  YUGALABS_00000549)
 27       JTX-       atomic0.com - RRBAYC #6944
          1142       (YUGALABS_00000621)
 28

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  1                                                            Date             Date
        Ex. No.                    Description
  2                                                          Identified       Admitted
                     atomic0.com - RRBAYC Collection
  3       JTX-
                     (YUGALABS_00000644 -
          1143
  4                  YUGALABS_00000646)
          JTX-       Redacted (RRBAYC) LooksRare webpage
  5       1145       (YUGALABS_00027472)
  6                  Etherscan -
          JTX-
                     0x2EEBAFOdFf3A1CE3F7E3414C52c48f
  7       1146
                     d50d73691e (YUGALABS_00031595)
  8                  Etherscan -
          JTX-       0xec6a7bd2b146bd89b214d1b5f4650afc20
  9       1147       462dddefe04a7d65fb2f953404I015
 10                  (YUGALABS_00031619)
          JTX-       rrbayc-v0.netlify.app and Favicon
 11       1148       (YUGALABS_00040325)
 12       JTX-       Apelandsdrop.com
          1154       (YUGALABS_00029419)
 13       JTX-
                     BAYC_LANDS (YUGALABS_00029428)
 14       1155
          JTX-       Creepy Bored Ape Club
 15
          1156       (YUGALABS_00029474)
 16       JTX-       _yugalabs on Instagram
          1157       (YUGALABS_00029507)
 17
                     2022 05 15 Ripps Tweets and Responses
          JTX-
 18                  (YUGALABS_00031402 -
          1158
                     YUGALABS_00031421)
 19
          JTX-       2021 07 08 Ripps Instagram
 20       1164       (YUGALABS_00041629)
 21       JTX-       2021 10 28 BAYC Tweet
          1168       (YUGALABS_00043387)
 22       JTX-       2022 06 20 Ripps Tweet
 23       1170       (YUGALABS_00043485)
          JTX-       2023 04 14 Cahen Tweet
 24       1171       (YUGALABS_00043488)
 25                  ApeFest 2022 Photo of Ehrlund, Ali,
          JTX-
                     Atalay, Muniz, Aronow, Solano, Oseary
 26       1172
                     (YUGALABS_00043512)
 27       JTX-       2022 06 21 BAYC Discord
          1192       (YUGALABS_00031203)
 28

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  1                                                             Date             Date
        Ex. No.                   Description
  2                                                           Identified       Admitted
          JTX-       2022 05 10 apebayc Tweet
  3       1193       (YUGALABS_00041682)
  4       JTX-       2022 05 10 Cryptogeenie Tweet
          1194       (YUGALABS_00042499)
  5       JTX-       2022 06 16 CryptoJooj Tweet
  6       1195       (YUGALABS_00043353)
                     Twitter from_BoredApeYC until_2023-03-
  7       JTX-       31 since_2021-09-30
  8       1233       (YUGALABS_00041354 -
                     YUGALABS_00041418)
  9                  2022 06 21 (Wayback) Opensea - BAYC
          JTX-
 10                  #6520 (YUGALABS_00043525 -
          1236
                     YUGALABS_00043526)
 11       JTX-       2022 06 21 (Wayback) Opensea - RRBAYC
 12       1237       #6520 (YUGALABS_00043491)
                     2022 07 29 (Wayback) Opensea - BAYC
 13       JTX-
                     #8357 (YUGALABS_00043528 -
          1240
 14                  YUGALABS_00043529)
          JTX-       2022 06 21 (Wayback) Opensea - RRBAYC
 15
          1241       #8357 (YUGALABS_00043511)
 16       JTX-       2023 04 10 Ripps Tweet
          1243       (YUGALABS_00043540)
 17
          JTX-       2022 05 14 Ripps Tweet
 18       1249       (YUGALABS_00043537)
 19       JTX-       2022 11 02 CryptoPhunksV2 Tweet
          1262       (YUGALABS_00043513)
 20                  2022 01 14 registration of
          JTX-
 21                  https://who.is/whois/gordongoner.com
          1268
                     (YUGALABS_00043489)
 22       JTX-       2022 05 18 rrbayc.com Domain
 23       1270       Registration (RIPPSCAHEN00015850)
                     Etherscan -
 24       JTX-       0xee969b688442c2d5843ad75f9117b3ab04
 25       1272       b14960 RRBAYCRSVP) (Analytics) (2022
                     06 20) (YUGALABS_00043509)
 26       JTX-       2022 05 07 SolminingpunkV2 Tweet
 27       1273       (YUGALABS_00000602)
 28

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  1                                                                Date             Date
        Ex. No.                    Description
  2                                                              Identified       Admitted
          JTX-       2022 06 20 markaclouds Tweet
  3       1274       (YUGALABS_00000615)
  4       JTX-       ApeFest 2022 - Eminem and Snoop Dogg
          1293       (YUGALABS_00002439)
  5       JTX-       2022 05 13 Cahen Tweet
  6       1296       (YUGALABS_00029866)
                     ApeFest 2022 - Full Webpage (captured
  7       JTX-
                     2023 01 14) (YUGALABS_00032562 -
          1298
  8                  YUGALABS_00032567)
                     ApeFest 2022 - Full Webpage (capture 2023
  9       JTX-
                     02 05) (YUGALABS_00033310 -
          1299
 10                  YUGALABS_00033318)
          JTX-       BAYC Discord - FAQ
 11       1300       (YUGALABS_00036531)
 12                  BoredApeYC Twitter - Full
          JTX-
                     (YUGALABS_00014135 -
 13       1302
                     YUGALABS_00014673)
 14                  Yugalabs Twitter - Full
          JTX-
                     (YUGALABS_00015395 -
 15       1306
                     YUGALABS_00015409)
 16                  YouTube - ApeFest 2021
          JTX-
                     (https://www.youtube.com/watch?v=MpMR
 17       1308
                     9HBXX5A) (YUGALABS_00041649)
 18                  YouTube - ApeFest 2022
          JTX-
                     (https://www.youtube.com/watch?v=yhsEH
 19       1309
                     RNuYBw) (YUGALABS_00042500)
 20                  Etherscan -
 21                  0x7D2550161E8A31D0b9585Bb9c88E63E
          JTX-
                     9644af740 (Cahen PEPE)
 22       1310
                     (YUGALABS_00041541 -
 23                  YUGALABS_00041542)
                     Etherscan - Transaction
 24                  0x0cae66a609ae2ff22935fe767f8fc1b3244a
          JTX-
 25                  51b6832c393bf14664b340b0c30a (Cahen
          1311
                     2022 11 09) (YUGALABS_00043369 -
 26                  YUGALABS_00043370)
 27
 28

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  1                                                            Date             Date
        Ex. No.                    Description
  2                                                          Identified       Admitted
                     Etherscan - Transaction
  3                  0x42ea6aa1c4d79ab57962ee723abb43e010
          JTX-
  4                  4fb4bea56b65cc1bf4bc6fb7982b2e (Cahen
          1312
                     2022 10 11) (YUGALABS_00043384 -
  5                  YUGALABS_00043385)
  6                  Etherscan - Transaction
                     0xe1a29d7df090d0c90bee1731e3af039ec33
  7       JTX-
                     3ba4ac1020666cee59f09f6dc8595 (Cahen
          1313
  8                  2023 01 04) (YUGALABS_00043398 -
                     YUGALABS_00043399)
  9       JTX-       2023 04 04 Cahen Tweet
 10       1315       (YUGALABS_00041610)
          JTX-       RRBAYC on Opensea Pro (grid view)
 11       1317       (YUGALABS_00041650)
 12       JTX-       2023 04 04 Cahen Tweet
          1318       (YUGALABS_00041683)
 13       JTX-       Founders Wedding Photo
 14       1428       (YUGALABS_00040593)
                     rrbayc.com - Full webpage
 15       JTX-
                     (YUGALABS_00030244 -
          1433
 16                  YUGALABS_00030337)
          JTX-
 17                  Otherside Video (YUGALABS_00041280)
          1434
 18       JTX-       2021 04 17 BAYC Tweet
          1442       (YUGALABS_00002048)
 19
          JTX-       2023 04 03 alexisohanian Tweet
 20       1461       (YUGALABS_00041530)
 21       JTX-       2023 04 03 CitronButter Tweet
          1462       (YUGALABS_00041531)
 22       JTX-       2023 04 22 Cahen Tweet
 23       1469       (YUGALABS_00041538)
          JTX-       2023 04 22 Cahen Tweet
 24       1470       (YUGALABS_00041539)
 25       JTX-       2023 04 20 Cahen Tweet
          1471       (YUGALABS_00041540)
 26       JTX-
                     Ripps Tweet (YUGALABS_00041573)
 27       1475
 28

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  1                                                              Date             Date
        Ex. No.                    Description
  2                                                            Identified       Admitted
          JTX-       2022 05 11 Ripps Tweet
  3       1477       (YUGALABS_00030056)
  4       JTX-       2023 03 27 Blockworks Tweet
          1480       (YUGALABS_00041287)
  5                  NameCheap - Domain Registration
  6       JTX-       Information for rrbayc.com and
          1484       apemarket.com (NAMECHEAP0000015 -
  7                  NAMECHEAP0000025)
  8                  2022 05 13 Jclineshow Tweet
          JTX-
                     (YUGALABS_00029080 -
  9       1556
                     YUGALABS_00029086)
 10                  2022 05 19 (Wayback) - RRBAYC
          JTX-
                     Foundation webpage
 11       1557
                     (YUGALABS_00030057)
 12       JTX-       2022 07 03 AllCityBAYC Tweet
          1558       (YUGALABS_00031331)
 13                  2022 06 21 (Wayback) RRBAYC
 14       JTX-       Foundation webpage
          1564       (YUGALABS_00036423 -
 15                  YUGALABS_00036424)
 16       JTX-       2023 04 30 Ripps Tweet
          1565       (YUGALABS_00043544)
 17
          JTX-       2023 04 28 Cahen Tweet
 18       1566       (YUGALABS_00043546)
          JTX-       2023 03 01 Cahen Tweet
 19
          1567       (YUGALABS_00043547)
 20       JTX-       2023 05 01 Cahen Tweet
 21       1568       (YUGALABS_00043548)
          JTX-       No Date Text Messages (Ripps and Cahen)
 22       1574       (RIPPSCAHEN00026004)
 23       JTX-       No Date Text Messages (Ripps and Cahen)
          1575       (RIPPSCAHEN00026023)
 24       JTX-       No Date Text Messages (Ripps and Cahen)
 25       1576       (RIPPSCAHEN00026024)
          JTX-       No Date Text Messages (Ripps and Cahen)
 26       1578       (RIPPSCAHEN00026037)
 27       JTX-       No Date Text Messages (Ripps and Cahen)
          1581       (RIPPSCAHEN00026047)
 28

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  1                                                                 Date             Date
        Ex. No.                     Description
  2                                                               Identified       Admitted
          JTX-       No Date Text Messages (Ripps and Cahen)
  3       1582       (RIPPSCAHEN00026048)
  4       JTX-       No Date Text Messages (Ripps and Cahen)
          1583       (RIPPSCAHEN00026057)
  5       JTX-       No Date Text Messages (Ripps and Cahen)
  6       1586       (RIPPSCAHEN00026069)
          JTX-       2022 06 08 Text Messages (Ripps and
  7       1591       Cahen) (RIPPSCAHEN00026148)
  8                  1245083_013123_Foundation_Excel_Qual+
          JTX-
                     Term+Partial.xlsx (Foundation Eveready
  9       1592
                     Survey Data) (YUGALABS_00036090)
 10                  1245083_013123_NFT
          JTX-
                     OS_All_Touch_Excel.xlsx (OpenSea Squirt
 11       1593
                     Survey Data) (YUGALABS_00036097)
 12                  “Why Did OpenSea Become the Most
                     Widely Used NFT Marketplace?” Crypto
 13       JTX-
                     Conduct Authority, August 18, 2022
          1594
 14                  (YUGALABS_00036124 -
                     YUGALABS_00036126)
 15
          JTX-       Etherscan - ryder-ripps.eth #1956 Bored
 16       1595       Ape Yacht Club (YUGALABS_00036146)
                     Rivera-Herrera, Daniela, “10 Best NFT
 17
          JTX-       Marketplaces,” Nasdaq, October 27, 2022
 18       1596       (YUGALABS_00036216 -
                     YUGALABS_00036222)
 19
                     “OpenSea Learn,” OpenSea
 20       JTX-
                     (YUGALABS_00036223 -
          1597
 21                  YUGALABS_00036224)
                     Trinetra Paul, “The 8 Most Popular NFT
 22       JTX-       Marketplaces in the World,” Prestige,
 23       1598       February 3, 2022 (YUGALABS_00036245
                     - YUGALABS_00036256)
 24                  “Discover, collect, and sell extraordinary
 25       JTX-       NFTs,” OpenSea, June 20, 2022
          1599       (YUGALABS_00036412 -
 26                  YUGALABS_00036420)
 27
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  1                                                                  Date             Date
        Ex. No.                     Description
  2                                                                Identified       Admitted
                     Ripps’ character logo obtained from
  3                  “@ryder_ripps Foundation Page,”
          JTX-
  4                  Foundation, January 20, 2022
          1600
                     (YUGALABS_00036421 -
  5                  YUGALABS_00036422)
  6       JTX-       2023 05 01 Cahen Tweet
          1602       (YUGALABS_00043564)
  7       JTX-       2023 05 01 Cahen Tweet
  8       1603       (YUGALABS_00043563)
                     Diamond, Shari S., “Reference Guide on
  9                  Survey Research,” in Reference Manual on
         JTX-
 10                  Scientific Evidence, Third Edition, Federal
         1612*
                     Judicial Center (YUGALABS_00034060 -
 11                  YUGALABS_00035094)
 12       JTX-       2023 02 20 Cahen Retweet (rrbayc_bot)
          1613       (YUGALABS_00043588)
 13       JTX-       2023 02 17 Cahen Retweet (rrbayc_bot)
 14       1614       (YUGALABS_00043589)
          JTX-       2023 02 24 Cahen Retweet (rrbayc_bot)
 15       1615       (YUGALABS_00043590)
 16                  Coingecko, RR/BAYC NFT Floor Price
          JTX-
                     Data (YUGALABS_00033714 -
 17       1616
                     YUGALABS_00033718)
 18                  2023 06 06 Cahen Tweet Thread
          JTX-
                     (YUGALABS_00043606 -
 19       1617
                     YUGALABS_00043614)
 20       JTX-       2023 06 06 CHristophrP_ Tweet (Cahen
 21       1618       Retweeted) (YUGALABS_00043592)
          JTX-       2023 06 06 potatoeggtacos Tweet (Cahen
 22       1619       Retweeted) (YUGALABS_00043593)
 23       JTX-       2023 06 06 Cahen Tweet (Ripps Retweeted)
          1620       (YUGALABS_00043594)
 24                  NFTGO BAYC Analytics
          JTX-
 25                  (YUGALABS_00043596 -
          1621
                     YUGALABS_00043597)
 26                  NFTGO BAYC Overview
          JTX-
 27                  (YUGALABS_00043598 -
          1622
                     YUGALABS_00043599)
 28

      FINAL JOINT EXHIBIT LIST                    24               Case No. 2:22-cv-04355-JFW-JEM
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  1                                                                Date             Date
        Ex. No.                     Description
  2                                                              Identified       Admitted
          JTX-       NFTGO RRBAYC Analytics - General
  3       1623       (YUGALABS_00043600)
  4       JTX-       NFTGO RRBAYC Overview - Short
          1624       (YUGALABS_00043601)
  5                  NFTGO RRBAYC Overview
          JTX-
  6                  (YUGALABS_00043602 -
          1625
                     YUGALABS_00043603)
  7                  OpenSea BAYC Analytics
          JTX-
  8                  (YUGALABS_00043604 -
          1626
                     YUGALABS_00043605)
  9       JTX-       Yougetnothin.com (captured at 2023 06 07)
 10       1627       (YUGALABS_00043595)
                     Plaintiff's Exhibit to Motion for Summary
 11                  Judgment Exhibit 7 - Ethereum blockchain
         JTX-
 12                  smart contract containing RRBAYC NFTs,
         2002*
                     YUGALABS_00030081-
 13                  YUGALABS_00030082
 14                  Plaintiff's Exhibit to Motion for Summary
         JTX-        Judgment Exhibit 12 - Yuga's website
 15      2003*       About page, YUGALABS_00030223-
 16                  YUGALABS_00030230
                     Plaintiff's Exhibit to Motion for Summary
 17
         JTX-        Judgment Exhibit 16 - Yuga Labs OpenSea
 18      2004*       listing page, YUGALABS_00027531-
                     YUGALABS_00027531
 19
                     Defendants' Exhibit to Opposition to
 20                  Motion for Summary Judgment Exhibit 129
          JTX-
                     - Email from Andriske to RRBAYC, June
 21       2033
                     20, 2022, RIPPSCAHEN00001577-
 22                  RIPPSCAHEN00001577
 23                  Defendants' Exhibit to Opposition to
                     Motion for Summary Judgment Exhibit 131
 24       JTX-
                     - Email from Attar to RRBAYC, June 21,
          2035
 25                  2022, RIPPSCAHEN00001655-
                     RIPPSCAHEN00001655
 26
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      FINAL JOINT EXHIBIT LIST                    25             Case No. 2:22-cv-04355-JFW-JEM
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  1                                                               Date             Date
        Ex. No.                    Description
  2                                                             Identified       Admitted
                     Defendants' Exhibit to Opposition to
  3                  Motion for Summary Judgment Exhibit 135
          JTX-
  4                  - Email from Winterstein to RRBAYC, June
          2039
                     21, 2022, RIPPSCAHEN00001869-
  5                  RIPPSCAHEN00001869
  6                  Defendants' Exhibit to Opposition to
                     Motion for Summary Judgment Exhibit 141
  7      JTX-
                     - Forbes Profile of Ryder Ripps,
         2045*
  8                  RIPPSCAHEN00000866-
                     RIPPSCAHEN00000869
  9                  Defendants' Exhibit to Opposition to
 10                  Motion for Summary Judgment Exhibit 146
         JTX-
                     - ApeCoin OpenSea Page,
 11      2050*
                     RIPPSCAHEN00020735-
 12                  RIPPSCAHEN00020736
                     Defendants' Exhibit to Opposition to
 13      JTX-        Motion for Summary Judgment Exhibit 174
 14      2075*       - Dilution Image, RIPPSCAHEN00018890-
                     RIPPSCAHEN00018890
 15                  Defendants' Exhibit to Opposition to
 16                  Motion for Summary Judgment Exhibit 184
         JTX-
                     - RRBAYC Website,
 17      2085*
                     RIPPSCAHEN00021149-
 18                  RIPPSCAHEN00021175
                     Defendants' Exhibit to Opposition to
 19
                     Motion for Summary Judgment Exhibit 185
          JTX-
 20                  - RRBAYC Purchase Disclaimer,
          2086
                     RIPPSCAHEN00021219-
 21
                     RIPPSCAHEN00021219
 22                  Defendants' Exhibit to Opposition to
                     Motion for Summary Judgment Exhibit 195
 23      JTX-
                     - Etherscan BAYC #3721,
         2091*
 24                  RIPPSCAHEN00020829-
                     RIPPSCAHEN00020830
 25
                     Defendants' Exhibit to Opposition to
 26                  Motion for Summary Judgment Exhibit 196
         JTX-
 27                  - Etherscan RRBAYC #193,
         2092*
                     RIPPSCAHEN00025264-
 28                  RIPPSCAHEN00025264

      FINAL JOINT EXHIBIT LIST                   26             Case No. 2:22-cv-04355-JFW-JEM
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  1                                                                   Date             Date
        Ex. No.                      Description
  2                                                                 Identified       Admitted
                     Defendants' Exhibit to Opposition to
  3                  Motion for Summary Judgment Exhibit 200
         JTX-
  4                  - Twitter post by Ripps, May 20, 2022,
         2096*
                     RIPPSCAHEN00019015-
  5                  RIPPSCAHEN00019015
  6                  Defendants' Exhibit to Opposition to
                     Motion for Summary Judgment Exhibit 201
  7      JTX-
                     - Twitter post by Ripps, May 15, 2022,
         2097*
  8                  RIPPSCAHEN00019017-
                     RIPPSCAHEN00019017
  9                  Defendants' Exhibit to Opposition to
 10                  Motion for Summary Judgment Exhibit 206
          JTX-       - Twitter post by Ripps, June 18, 2022
 11       2102       (Ripps Disclaimer Tweet 4),
 12                  RIPPSCAHEN00017523-
                     RIPPSCAHEN00017523
 13                  Defendants' Exhibit to Opposition to
 14                  Motion for Summary Judgment Exhibit 207
         JTX-        - Twitter post by Ripps, June 1, 2022 (Ripps
 15      2103*       Disclaimer Tweet 5),
 16                  RIPPSCAHEN00017526-
                     RIPPSCAHEN00017526
 17                  Defendants' Exhibit to Opposition to
 18                  Motion for Summary Judgment Exhibit 217
          JTX-
                     - Twitter post by Cline, May 16, 2022,
 19       2112
                     RIPPSCAHEN00022455-
 20                  RIPPSCAHEN00022473
                     Defendants' Exhibit to Opposition to
 21
                     Motion for Summary Judgment Exhibit 218
 22      JTX-        - Direct Message from Ripps to
         2113*       @Streetoshi, May 30, 2022,
 23
                     RIPPSCAHEN00015350-
 24                  RIPPSCAHEN00015350
                     Defendants' Exhibit to Opposition to
 25
         JTX-        Motion for Summary Judgment Exhibit 241
 26      2134*       - Bored Coffee, RIPPSCAHEN00021022-
                     RIPPSCAHEN00021022
 27
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      FINAL JOINT EXHIBIT LIST                     27               Case No. 2:22-cv-04355-JFW-JEM
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  1                                                                   Date             Date
        Ex. No.                     Description
  2                                                                 Identified       Admitted
                     Defendants' Exhibit to Anti-SLAPP Motion
  3       JTX-       to Strike and Motion to Dismiss Exhibit 3 -
  4       2139       New York Times, Ryder Ripps: An Artist of
                     the Internet, July 8, 2014
  5                  Defendants' Exhibit to Anti-SLAPP Motion
  6                  to Strike and Motion to Dismiss Exhibit 20 -
         JTX-
                     Input Magazine, Bored Ape Yacht Club
  7      2155*
                     Finally Responds to Neo-Nazism
  8                  Accusations, February 1, 2022
                     Defendants' Exhibit to Anti-SLAPP Motion
  9                  to Strike and Motion to Dismiss Exhibit 29 -
         JTX-
 10                  The Coin Republic, Bored Ape Yacht Club
         2163*
                     (BAYC) Propagating NFT Racism?, June
 11                  24, 2022
 12      JTX-
                     Expert Report of Jonah Berger, Feb. 6, 2023
         2190*
 13                  Twitter post from @Jclineshow, May 16,
          JTX-
 14                  2022, RIPPSCAHEN00022687-
          2211
                     RIPPSCAHEN00022703
 15                  Etherscan token tracker (ERC-20),
         JTX-
 16                  RIPPSCAHEN00026242-
         2243*
                     RIPPSCAHEN00026242
 17
                     Etherscan token tracker (ERC-20) BAYC,
         JTX-
 18                  RIPPSCAHEN00026243-
         2244*
                     RIPPSCAHEN00026243
 19
                     Declararation of Thomas Leham, Feb. 3,
         JTX-
 20                  2023, YUGALABS_00040736-
         2277*
                     YUGALABS_00040745
 21
                     Confidential Settlement Agreement, Feb. 3,
         JTX-
 22                  2023, YUGALABS_00040746-
         2278*
 23                  YUGALABS_00040762
                     #The Bestt Boredd Apee Yacht Clubb
 24      JTX-        webpage on OpenSea,
 25      2280*       RIPPSCAHEN00015922-
                     RIPPSCAHEN00015923
 26                  Bored Ape Tron Club webpage,
          JTX-
 27                  RIPPSCAHEN00017228-
          2282
                     RIPPSCAHEN00017236
 28

      FINAL JOINT EXHIBIT LIST                    28                Case No. 2:22-cv-04355-JFW-JEM
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  1                                                              Date             Date
        Ex. No.                    Description
  2                                                            Identified       Admitted
                     Bored Ape Solana Club webpage on Magic
  3      JTX-
                     Eden, RIPPSCAHEN00017581-
         2284*
  4                  RIPPSCAHEN00017583
                     Bernstein, What's More Provacative Than
  5      JTX-        Sincerity?, Mar. 30, 2023,
  6      2333*       RIPPSCAHEN00026292-
                     RIPPSCAHEN00026299
  7      JTX-
                     Physical exhibit RIPPSCAHEN00018454
  8      2397*
         JTX-
  9                  Physical exhibit RIPPSCAHEN00018455
         2398*
 10      JTX-
                     Physical exhibit RIPPSCAHEN00018456
         2399*
 11      JTX-
                     Physical exhibit RIPPSCAHEN00018457
 12      2400*
         JTX-
 13                  Physical exhibit RIPPSCAHEN00018458
         2401*
 14      JTX-
                     Physical exhibit RIPPSCAHEN00018459
         2402*
 15
         JTX-
                     Physical exhibit RIPPSCAHEN00018460
 16      2403*
         JTX-
 17                  Physical exhibit RIPPSCAHEN00018461
         2404*
 18      JTX-
                     Physical exhibit RIPPSCAHEN00018462
 19      2405*
         JTX-
 20                  Physical exhibit RIPPSCAHEN00018463
         2406
 21      JTX-
                     Physical exhibit RIPPSCAHEN00018464
         2407*
 22      JTX-
                     Physical exhibit RIPPSCAHEN00018466
 23      2409*
         JTX-
 24                  Physical exhibit RIPPSCAHEN00018467
         2410*
 25      JTX-
                     Physical exhibit RIPPSCAHEN00018468
         2411*
 26      JTX-
                     Physical exhibit RIPPSCAHEN00018469
 27      2412*
 28

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  1                                                          Date             Date
        Ex. No.                     Description
  2                                                        Identified       Admitted
         JTX-
  3                  Physical exhibit RIPPSCAHEN00018470
         2413*
  4      JTX-
                     Physical exhibit RIPPSCAHEN00018471
         2414*
  5      JTX-
                     Physical exhibit RIPPSCAHEN00018472
  6      2415*
         JTX-
  7                  Physical exhibit RIPPSCAHEN00018473
         2416*
  8      JTX-
                     Physical exhibit RIPPSCAHEN00018474
         2417
  9      JTX-
                     Physical exhibit RIPPSCAHEN00018475
 10      2418*
         JTX-
 11                  Physical exhibit RIPPSCAHEN00022704
         2419*
 12      JTX-
                     Physical exhibit RIPPSCAHEN00022705
         2420*
 13
         JTX-
                     Physical exhibit RIPPSCAHEN00022706
 14      2421*
         JTX-
 15                  Physical exhibit RIPPSCAHEN00026203
         2422*
 16      JTX-
                     Physical exhibit RIPPSCAHEN00026204
 17      2423*
         JTX-
 18                  Physical exhibit RIPPSCAHEN00026272
         2424*
 19      JTX-
                     Physical exhibit RIPPSCAHEN00026273
         2425*
 20      JTX-
                     Physical exhibit RIPPSCAHEN00026274
 21      2426*
         JTX-
 22                  Physical exhibit RIPPSCAHEN00026275
         2427*
 23      JTX-
                     Physical exhibit RIPPSCAHEN00026276
         2428*
 24                  Direct Messages from June 21, 2022,
         JTX-
 25                  RIPPSCAHEN00026300-
         2587*
                     RIPPSCAHEN00026300
 26
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      FINAL JOINT EXHIBIT LIST                    30       Case No. 2:22-cv-04355-JFW-JEM
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  1                                                                  Date             Date
        Ex. No.                     Description
  2                                                                Identified       Admitted
                     Email from arthouse_editor@proton.me to
  3      JTX-        rrbayc@protonmail.com, May 25, 2022,
  4      2589*       RIPPSCAHEN00001380-
                     RIPPSCAHEN00001380
  5                  Email from easywrld@protonmail.ch to
  6      JTX-        rrbayc@protonmail.com, May 28, 2022,
         2590*       RIPPSCAHEN00001396-
  7                  RIPPSCAHEN00001396
  8                  Email from Tarakcioglu to rrbayc, May 28,
         JTX-
                     2022, RIPPSCAHEN00001397-
  9      2591*
                     RIPPSCAHEN00001397
 10                  Email from Cook to rrbayc, May 31, 2022,
         JTX-
                     RIPPSCAHEN00001408-
 11      2592*
                     RIPPSCAHEN00001408
 12                  Email from smu66xg0dd to rrbayc, June 17,
         JTX-
                     2022, RIPPSCAHEN00001475-
 13      2595*
                     RIPPSCAHEN00001475
 14                  Email from Bader to rrbayc, June 18, 2022,
         JTX-
                     RIPPSCAHEN00001479-
 15      2596*
                     RIPPSCAHEN00001479
 16                  Email from Stango to rrbayc, June 20, 2022,
         JTX-
                     RIPPSCAHEN00001523-
 17      2599*
                     RIPPSCAHEN00001523
 18                  Ledger spreadsheet on Kraken, June 24,
         JTX-
                     2022, Live9000-00000014-Live9000-
 19      2608*
                     00000014
 20                  Web Summit clip,
          JTX-
                     RIPPSCAHEN00017611-
 21       2672
                     RIPPSCAHEN00017611
 22                  Web Summit Day 2 clip,
          JTX-
 23                  RIPPSCAHEN00017612-
          2673
                     RIPPSCAHEN00017612
 24                  Bloomberg Crypto clip,
          JTX-
 25                  YUGALABS_00030243-
          2676
                     YUGALABS_00030243
 26      JTX-
               Etherscan Transaction Details
 27     2710**

 28

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  1                                                         Date              Date
        Ex. No.                  Description
  2                                                       Identified        Admitted
         JTX-
  3            Etherscan Transaction Details
        2711**
  4      JTX-
               CoinGecko page for Bored Ape Yacht Club
        2712**
  5      JTX-
               CoinGecko page for Bored Ape Yacht Club
  6     2713**
               Coin Telegram, Yuga Labs’ Otherdeeds
  7      JTX-
               NFT mint triggers backlash from
        2714**
  8            community
               Kotaku, Bored Ape Yacht Club NFT Fans
  9      JTX-
               Lose Millions Trying To Buy Video Game
        2715**
 10            'Land'
               Coin Telegram, Otherside NFTs fall below
 11      JTX-
               mint price while cheaper ETH sees sales
        2716**
 12            volume boost
         JTX- Etherscan Transaction Details, Advanced
 13     2717** Filter
 14      JTX- Etherscan Transaction Details, Advanced
        2718** Filter
 15
         JTX- Etherscan Transaction Details, Advanced
 16     2719** Filter
         JTX- Etherscan Transaction Details, Advanced
 17
        2720** Filter
 18      JTX- Etherscan Transaction Details, Advanced
 19     2721** Filter
         JTX- Made by Apes; The License for BAYC &
 20     2722** MAYC Builders
 21
 22
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  1 Dated: July 27, 2023                      FENWICK & WEST LLP
  2
  3                                           By: /s/ Eric Ball
                                                  Eric Ball
  4                                           Attorneys for Plaintiff
  5                                           YUGA LABS, INC.

  6
  7 Dated: July 27, 2023                      WILMER CUTLER PICKERING HALE &
                                              DORR LLP
  8
  9
                                              By: /s/ Louis Tompros
 10                                               Louis W. Tompros
                                              Attorneys for Defendants
 11                                           RYDER RIPPS and JEREMY CAHEN
 12
 13
 14                      ATTESTATION OF CONCURRENCE IN FILING
 15            Pursuant to the United States District Court for the Central District of
 16 California’s Civil L.R. 5-4.3.4(a)(2)(i), Eric Ball attests that concurrence in the filing
 17 of this document has been obtained from Louis W. Tompros.
 18
 19                                                 /s/ Eric Ball
                                                 Eric Ball
 20
 21
 22
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